
Rossell, J.
— The reasons principally relied on for a reversal of this judgment, by the plaintiff in certiorari is, that Shepard, a party in the covenant, is not named in the action.
I take it to be a general and sound principle of law7, that a party to a covenant, (except in cases of death, where heirs, executors, or administrators brings the suit, or are sued,) must be named in the action; and if this is not done, that he against whom the suit is instituted, may plead in abatement, or by craving oyer, demur generally to the action, as the case may be.
This doctrine is recognized in 1 Bacon’s Abridg. 533, and more fully in Butler’s Nisi Prius, 158. In the case before us, the action before the justice below, was brought by Claudius Long, who expressly declares in his state of demand, that the covenant on which this suit was brought, was entered into by the then defendant, [*] and Thomas Shepard, guardian of the said Long.
This Court cannot, then, I think, on any sound principle, presume fads in favour of either of the parties, and in direct contradiction to their own declarations, and which, by their own act, has become a part of the record. This would bo a violation of all established rules, and attended with the most dangerous consequences. It is true, the defendant would seem to admit, in his plea of abatement, sent up by the justice, that the plaintiff in the suit below, as well as Shepard, was a party to the covenant; at any rate, it appears that the covenants, on the part of M‘Intosh, were for the sole benefit of the plaintiff below7, but this does not alter the question; the authority from Bacon, cited above, and to which, if necessary, others might be added, goes fully to this point, and states: Rif in an indenture between A and B, of the one part, and C, of the other part, it is agreed between the parties, that C shall enter into a bond to B, to pay him 100Í. at a day; in an action for non-performance, A and B must join.” For these reasons l am clearly of opinion, that the justice below unlawfully overruled the defendant’s plea in abatement; and that, therefore, the judgment be set aside.
Pennington, J.
— It is difficult to discover by the pleadings of the parties, what the indenture on which the action is brought is; the state of demand alleges it to have been *200made between the defendant below, John MTntosh, and one Thomas Shepard, guardian to Claudius Long, the plaintiff below.. The defendant, in his plea, alleges it to have been made on the one part, by Shepard and Long, jointly. Hie proceedings, recorded by the justice, make mention of an article besides the indenture. If it is an indenture drawn in conformity to our act of Assembly, all the covenants are between the plaintiff and defendant; but I feel a difficulty in presuming a fact at variance with the allegation of the plaintiff himself. After verdict, however, 1 feel [*] a reluctance in reversing the judgment merely for error, in the form of pleading or bringing-the suit; for should the money be recovered in the name of Shepard, the guardian, it must be for the'use of Long, the plaintiff. On the first view of this case, I thought that vve might presume, that as Shepard, who made the indenture, is all along stated to be guardian to Long, that he made it for and in the behalf of his ward Long, which presumption would not be at variance with the state of demand. . But on more mature reflection, I am of opinion, that we . are not warranted in doing this ; and the judgment must bo reversed.
Crane, for plaintiff.
Kib.kpatb.ick, C. J. — Concurred.
Judgment reversed.
